       Case 5:20-cv-00768-FB-ESC Document 53 Filed 07/30/21 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


CONTINENTAL CASUALTY                              §
COMPANY, VALLEY FORGE                             §
INSURANCE COMPANY, NATIONAL                       §                 SA-20-CV-00768-FB
FIRE INSURANCE COMPANY OF                         §
HARTFORD,                                         §
                                                  §
                   Plaintiffs,                    §
                                                  §
vs.                                               §
                                                  §
BLACKHAWK VENTURES, LLC,                          §
MICHAEL WIEBRACHT, STEVEN                         §
WIEBRACHT, FEDERAL                                §
MANAGEMENT SOLUTIONS, WPS                         §
GROUP, LLC,                                       §
                                                  §
                   Defendants.                    §

                         ORDER SETTING STATUS CONFERENCE

       Before the Court is the above-styled cause of action, which was referred to the

undersigned for all pretrial proceedings on December 22, 2020 [#18]. On April 28, 2021, the

Court granted Defendant WPS Group’s motion to stay this action in light of criminal proceedings

pending against various individuals associated with Defendant Blackhawk Ventures and WPS

Group, in order to preserve the individuals’ privilege against self-incrimination [#50]. The stay

was imposed for 90 days, until July 27, 2021. On July 27, 2021, the parties filed a Joint

Advisory to the Court [#52], in which they informed the Court that the criminal proceedings are

far from over, but a dispute remains as to whether the stay should be lifted for the purpose of

compelling production of certain documents from a third party. The Court will impose a further

stay of these proceedings and set this case for a status conference to address these issues.

       IT IS THEREFORE ORDERED that this case remains STAYED until further order of

the Court.


                                                 1
       Case 5:20-cv-00768-FB-ESC Document 53 Filed 07/30/21 Page 2 of 2




       IT IS FURTHER ORDERED that this case is set for a status conference on August 18,

2021 at 11:30 a.m.      All parties are required to appear by Zoom for the hearing. The

information to join the hearing is as follows:

       Join ZoomGov Meeting: https://txwd-uscourts.zoomgov.com/j/16126729723

       Meeting ID: 161 2672 9723

       If there are questions regarding the Zoom appearance, the parties should contact Valeria

Sandoval, Courtroom Deputy, at txwdml_chambers_sa_judgechestney@txwd.uscourts.gov.

       Because earlier hearings in other cases may be in progress at the time attorneys log-in for

their scheduled hearing, attorneys may be required to wait in the Zoom “waiting room” until the

Courtroom Deputy addresses them. Parties should review the July 15, 2020 Standing Order

Regarding Telephone or Video Teleconference Hearings, which is available upon request from

the Courtroom Deputy and on the Court’s website.

       SIGNED this 30th day of July, 2021.




                                                 ELIZABETH S. ("BETSY") CHESTNEY
                                                 UNITED STATES MAGISTRATE JUDGE




                                                   2
